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 8                           UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
      DEFENSE FOR CHILDREN
11    INTERNATIONAL – PALESTINE; AL-             Case No.: 23-cv-5829
      HAQ; AHMED ABU ARTEMA;
12    MOHAMMED AHMED ABU ROKBEH;                 [PROPOSED] ORDER REGARDING
      MOHAMMAD HERZALLAH; A.N.;                  MOTION FOR ADMINISTRATIVE
13    LAILA ELHADDAD; WAEIL ELBHASSI;            RELIEF TO PRESENT LIVE
      BASIM ELKARRA; and DR. OMAR EL-            TESTIMONY DURING HEARING ON
14
      NAJJAR                                     PLAINTIFFS’ MOTION FOR
15                                               PRELIMINARY INJUNCTION
                             Plaintiffs,
16
              v.
17

18    JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United
19    States; ANTONY J. BLINKEN, in his
      official capacity as Secretary of State;
20    LLOYD JAMES AUSTIN, in his official
      capacity as Secretary of Defense,
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22                           Defendants.

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     [PROPOSED] ORDER ON
     MOTION FOR ADMINISTRATIVE RELIEF
     TO PRESENT LIVE TESTIMONY                                          Case No. 23-cv-5829
          Case 4:23-cv-05829-JSW Document 70 Filed 01/16/24 Page 2 of 2



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 9                                        [PROPOSED] ORDER

10          Having considered Plaintiffs’ Motion for Administrative Relief to Present Live Testimony on

11 Plaintiffs’ Motion for Preliminary Injunction, and Defendants’ response thereto, the Court concludes

12 that the Motion is GRANTED and that Plaintiffs shall be permitted to present live testimony at the

13
     hearing regarding their preliminary injunction motion scheduled for January 26, 2024 at 9am.
14
     IT IS SO ORDERED.
15
                 16th
     Issued this __         January
                    day of __________, 2024.
16

17                                                                  _________________________
                                                                    JEFFREY S. WHITE
18                                                                  U.S. District Judge

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     [PROPOSED] ORDER ON
     MOTION FOR ADMINISTRATIVE RELIEF
     TO PRESENT LIVE TESTIMONY                                                     Case No. 23-cv-5829
